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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                v.                            :       Case No. 22-cr-196 (RBW)
                                              :
KELFA KAMARA                                  :

                     GOVERNMENT’S SENTENCING MEMORANDUM

         The Defendant has chosen to traffic in various types of controlled substances over a long

period of time, resulting in another conviction for possession with the intent to distribute cocaine

base in the instant case. For the reasons that follow, the Government respectfully requests that the

Court impose a sentence of 57 months of incarceration followed by 3 years of Supervised Release.

I.       FACTUAL AND PROCEDURAL BACKGROUND

         In or around late 2021, law enforcement began investigating violent crime and drug

trafficking activities occurring in or around the corner of 7th Street and O Street in Northwest,

Washington, D.C. Law enforcement quickly discovered that a specific group of individuals

associated together in this area on a regular basis, including the Defendant and several defendants

charged in the related case Unitized States v. Brian Rice et. At., 22-cr-164 (RBW).

         Law enforcement identified several stash houses that the group used for storing drugs close

by and for processing and packaging drugs for resale. Law enforcement installed covert cameras

in hallways to observe who was using these stash houses. Law enforcement also began executing

controlled purchases of both crack cocaine and fentanyl from members of this drug trafficking

group.

         The quantities of crack cocaine purchased by law enforcement ranged from one gram to

over 28 grams at a time. The charged members of this group, in total, sold law enforcement

approximately 158 grams of cocaine base. The quantities of fentanyl purchased by law
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enforcement from members of this drug trafficking group ranged from less than one gram up to 65

grams at a time. The charged members of this group, in total, sold law enforcement approximately

470 grams of fentanyl.

       Through the investigative process, law enforcement obtained sufficient probable cause to

execute a search warrant at Defendant Kamara’s residence located at 1941 2nd Street, NE,

Washington, DC 20002.

       On May 25, 2022, law enforcement arrived at his residence to execute the warrant and

encountered Defendant Kamara in his bedroom. Officers searching the Defendant’s bedroom

discovered a small clear plastic bag in his jacket pocket hung in his closet. The plastic bag

contained 42 grams of crack cocaine and a pill bottle containing 7 pills of suspected Oxycodone.

Officers also discovered a shoebox containing $4,167 in U.S. currency located in the Defendant’s

closet and $112 in a satchel located on a couch near the Defendant’s bed.

       Pursuant to the search warrant, officers also searched two vehicles which were registered

to Defendant Kamara. The first vehicle searched was a 2011 black Jeep Grand Cherokee and it

contained no relevant evidence.

       The second vehicle searched was a dark grey Infiniti bearing Washington, DC registration

GS8693. Officers recovered an orange pill bottle containing 13 blue pills, which were consistent

in appearance to Oxycodone and a white pill bottle containing 15 blue pills and 2 yellow pills, all

consistent in appearance to Oxycodone. Officers found two digital scales in the center counsel of

this automobile.

       Pursuant to the plea agreement, the Defendant admitted that he possessed the crack

cocaine, approximately 42 grams in total, for the purpose of selling it.


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II.    LEGAL STANDARD

       Pursuant to 18 U.S.C. § 3553(a), the court shall impose a sentence that is sufficient, but not

greater than necessary, to “reflect the seriousness of the offense, to promote respect for the law,

and to provide just punishment for the offense;” “to afford adequate deterrence to criminal

conduct;” “to protect the public from further crimes of the defendant;” and to “provide the

defendant with needed educational or vocational training.” 18 U.S.C. § 3553(a)(2). In addition, the

Court must also consider “the nature and circumstances of the offense and the history and

characteristics of the defendant;” the types of sentences available, the Sentencing Guidelines; any

pertinent policy statements; the need to avoid unwarranted sentence disparities; and the need to

provide restitution to any victims. Id. § 3553(a).

III.   GUIDELINES CALCULATION

       The Government agrees that the Defendant’s offense level is 21 and his Criminal History

Category is III, so his Guidelines range is 46-57 months of imprisonment. See PSR, ¶ 117.

       The Government previously filed its objections to the PSR and does not have any additional

objections.

IV.    ARGUMENT

       A sentence at the high end of the Guidelines range is appropriate considering the

Defendant’s lengthy criminal history, for repeatedly violating drug trafficking laws. The

Government’s recommended sentence is also designed to deter others, promote respect for the law,

and fulfill the other purposes of sentencing.

       1.       The Nature, Circumstances, and Seriousness of the Offense


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       Surveillance during this investigation revealed what amounted to an open-air drug market

at the corner of 7th and O Streets, NW. Surveillance captured what appeared to be individual drug

users going to this area and obtaining apparent drugs. Drug trafficking—especially by groups in

open-air drug markets like the one at 7th and O—brings violence and disruption to communities,

making it harder for individuals and families to live their lives. Indeed, there is a recreation center

at the northeast corner of 7th and O, right near where this group operated. While Defendant Kamara

was not charged in the larger conspiracy, his involvement with this group led law enforcement to

investigate Defendant Kamara and ultimately obtain a search warrant for his residence, discovering

large sums of money and crack cocaine.

       2.       The Defendant’s History and Characteristics

       The Defendant has multiple prior convictions, dating back to 1998. These convictions

prove a pattern of conduct over nearly 25 years. The Defendant’s convictions include offenses of

possession with the intent to distribute cocaine (1998), possession of cocaine (2004), possession

with the intent to distribute marijuana (2012), possession of a controlled substance (2014),

possession of a controlled substance (2014), possession of a controlled substance (2017). PSR

¶ 69-76. As the Court can see through the incident summaries, many are nearly identical to the

instant conduct, such as the conviction in 2014 CMD 17553 where, at the exact same residence,

MPD executed a search warrant and recovered two digital scales, crack cocaine, and over $2,000

in cash. PSR ¶ 73.

        The Defendant appeared to have a perfectly normal childhood, free of violence or abuse,

living between Washington, D.C. and London. PSR ¶ 88-91. He also appears to have avoided any

type of consistent work, even though he has held employment in the past.


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       3.       The Need to Promote Respect for the Law and Deterrence

           The Defendant chose to distribute a dangerous drug to members of our community.

Cocaine base is addictive and can destroy lives. A person who deals cocaine base and who chooses

to risk the wellbeing of others in order to make money for themselves must understand that their

conduct is unacceptable. Defendant Kamara did not simply make a one-time poor choice, he has

shown the Court that this is his chosen path, over and over again, with nearly identical conduct.

       4.       Other factors

       The Government’s recommended sentence is also justified to protect the public from the

Defendant. Defendant Kamara has shown no intent of abiding by the laws of the United States or

the District of Columbia. When the Court is presented with a defendant who choses crime over

and over again, at some point the Court is obligated to protect the public from a clear pattern of

recidivism.

V.     CONCLUSION

       For the foregoing reasons, the Government recommends that the Court impose a sentence

at, or near, the high end of the Defendant’s guidelines range, followed by 3 years of Supervised

Release.

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     UNITED STATES ATTORNEY
                                                     DC Bar No. 481052

                                             By:     By: /s/ Kevin Rosenberg
                                                     KEVIN L. ROSENBERG
                                                     Assistant United States Attorney
                                                     District of Columbia
                                                     OHIO BAR 0081448
                                                     601 D Street, NW
                                                     Washington, DC 20530
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                                 (202) 252-7833
                                 KEVIN.ROSENBERG@USDOJ.GOV




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